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      and the Classes
 11
 12                         UNITED STATES DISTRICT COURT

 13          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 14
 15   Bryce Abbink, individually and on             Case No. 8:19-cv-01257-JFW-PJW
 16   behalf of all others similarly situated,
                                                    DECLARATION OF TAYLOR T.
 17                                                 SMITH IN SUPPORT OF JOINT
                                 Plaintiff,
                                                    STIPULATION TO EXTEND THE
 18                                                 DEADLINE TO FILE PLAINTIFF’S
      v.
 19                                                 MOTION FOR CLASS
                                                    CERTIFICATION
 20   Experian Information Solutions, Inc.,
      an Ohio corporation, Lend Tech
 21                                          Hon. John F. Walter
      Loans, Inc., a California corporation,
 22   and Unified Document Services, LLC,
                                             Complaint filed: June 21, 2019
      a California Limited Liability
 23
      Company,
 24
                                 Defendant.
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 28   DECL. OF TAYLOR T. SMITH ISO JOINT      -1-
      STIPULATION RE: CLASS
      CERTIFICATION DEADLINE
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  1         I, Taylor T. Smith, declare as follows:
  2         1.     I am an associate attorney with the law firm Woodrow & Peluso, LLC
  3   and attorney of record for Plaintiff Bryce Abbink (“Plaintiff”). I am over the age of
  4   18 and, if necessary, can competently testify if required to do so.
  5         2.     This case was filed as an alleged class action. Per Civil Local Rule 23-
  6   3, Plaintiff’s Motion for Class Certification is due on September 30, 2019.
  7         3.     Counsel for both Plaintiff and Experian have conferred regarding the
  8   deadline, and both Parties agree that a four-month extension is needed to complete
  9   discovery regarding class certification issues.
 10         4.     The Parties have been diligently engaged in the instant litigation.
 11   Experian worked to brief and file its Motion to Dismiss and Plaintiff likewise spent
 12   considerable time researching and responding to the arguments raised in the Motion
 13   to Dismiss. (See Dkts. 25, 34.) Further, Plaintiff has worked to file his Motions for
 14   Alternative Service. (Dkts. 31, 32.)
 15         5.     The Parties have also been actively engaged in discovery. Plaintiff has
 16   served his first set of discovery requests—including interrogatories and requests for
 17   production. Experian served its responses to Plaintiff’s first set of discovery requests
 18   on August 28, 2019. Further, Plaintiff served his Rule 30(b)(6) Deposition Notice to
 19   Experian on August 19, 2019. On August 30, 2019, Experian served a notice of
 20   deposition upon Plaintiff. The Parties are presently working together to schedule the
 21   depositions. Additionally, the Parties drafted and filed a Joint Stipulated Protective
 22   Order. (Dkt. 30.)
 23         6.     Following a series of conversations with counsel for Experian, Plaintiff
 24   has been able to narrow the issues in the litigation. An additional set of discovery
 25   requests is necessary to obtain information that is directly relevant to his
 26   forthcoming Motion for Class Certification.
 27
 28   DECL. OF TAYLOR T. SMITH ISO JOINT     -2-
      STIPULATION RE: CLASS
      CERTIFICATION DEADLINE
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  1         7.     Further, given his inability to effectuate service upon Lend Tech and
  2   UDS, an extension of the deadline for class certification would be beneficial to the
  3   ultimate resolution of this case. That is, assuming that either Lend Tech or UDS files
  4   an appearance in this case once served, Plaintiff would be able to obtain responses to
  5   discovery requests and potentially schedule a deposition of each defendant.
  6   Moreover, both Lend Tech and UDS likely possess information relevant to the
  7   claims and defenses of all Parties. Lend Tech, in particular, possesses information
  8   about the verification process employed by Experian in this case.
  9         8.     Ultimately, the additional time will allow the Parties to obtain sufficient
 10   discovery to enable the Court to make an informed and well-reasoned decision on
 11   Plaintiff’s Motion for Class Certification.
 12         I declare under penalty of perjury under the laws of the United States of
 13   America that the foregoing is true and correct. Executed on August 30, 2019, in
 14   Denver, Colorado.
 15
 16                                    By:     /s/ Taylor T. Smith
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 22                                           Attorney for Plaintiff Bryce Abbink
 23                                           and the Classes

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 28   DECL. OF TAYLOR T. SMITH ISO JOINT     -3-
      STIPULATION RE: CLASS
      CERTIFICATION DEADLINE
